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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF NEW YORK
  JUAN IGARTUA, on behalf of himself and all others
  similarly situated,
                         Plaintiffs,                         1:24-cv-06753 (ALC)

                 v.                                          NOTICE OF DISMISSAL

  MIGHTY LUCKY, INC.,
                         Defendant.

          IT IS HEREBY AGREED that Plaintiff, JUAN IGARTUA (“Plaintiff”) by and through their
  undersigned counsel, pursuant to Rule 41(a)(1) (A) (i) of the Federal Rules of Civil Procedure, that
  this action be and hereby is voluntarily and finally dismissed with prejudice, without costs or
  attorneys’ fees.

  Dated: December 5, 2024


                                                    JOSEPH & NORINSBERG, LLC

                                                    By:
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